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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                   Chapter 11

BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                         (Joint Administration Requested)
                        Debtors.


               NOTICE OF HEARING TO CONSIDER FIRST DAY PAPERS

                PLEASE TAKE NOTICE that on February 18, 2020, Boy Scouts of America

and Delaware BSA, LLC (collectively, the “Debtors”) filed voluntary petitions for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) with the United States

Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

                PLEASE TAKE FURTHER NOTICE that the Debtors continue to operate their

businesses and manage their properties as debtors and debtors in possession, pursuant to sections

1107(a) and 1108 of the Bankruptcy Code.

                PLEASE TAKE FURTHER NOTICE that a hearing (the “First Day Hearing”)

will be held before the Honorable Laurie Selber Silverstein, United States Bankruptcy Judge, at

the United States Bankruptcy Court for the District of Delaware, located at 824 North Market

Street, 6th Floor, Courtroom No. 2, Wilmington, Delaware 19801 on February 19, 2020, at

10:30 a.m. (ET) on the following motions requesting certain “first day” relief (collectively, the

“First Day Pleadings”), which were filed by the Debtors in connection with their chapter 11

cases (the “Chapter 11 Cases”):


1
        The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC
(4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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D.I. No.                                 First Day Pleadings
   3        Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of
            Chapter 11 Cases and (II) Granting Related Relief
   5        Debtors’ Motion for Interim and Final Orders (I) Authorizing the Debtors to
            Utilize Cash Collateral Pursuant to 11 U.S.C. § 363; (II) Granting Adequate
            Protection to the Prepetition Secured Party Pursuant to 11 U.S.C. §§ 105(a),
            361, 362, 363 And 507; (III) Scheduling a Final Hearing Pursuant to
            Bankruptcy Rule 4001(b); and (IV) Granting Related Relief
   6        Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
            Payment of Certain Taxes and (II) Granting Related Relief
   7        Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
            Debtors to Pay Certain Prepetition Claims of Essential Vendors, Foreign
            Vendors, Shippers, Warehousemen, Other Lien Claimants, and 503(b)(9)
            Vendors, and (II) Granting Related Relief
   8        Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
            Debtors to (A) Maintain and Administer Prepetition Customer, Scout, and
            Donor Programs and Practices and (B) Pay and Honor Related Prepetition
            Obligations, and (II) Granting Related Relief
   9        Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
            Debtors to File (A) a Consolidated List of Counsel Representing the Largest
            Numbers of Abuse Victims and (B) a Consolidated List of Other Unsecured
            Creditors of the Debtors, (II) Authorizing and Approving Special Noticing
            and Confidentiality Procedures, (III) Authorizing and Approving Procedures
            for Providing Notice of Commencement, and (IV) Granting Related Relief
  10        Debtors’ Motion for Entry of an Order (I) Extending Time to File (A)
            Schedules of Assets and Liabilities and Statements of Financial Affairs and
            (B) Rule 2015.3 Reports and (II) Granting Related Relief

  11        Debtors’ Application for Entry of an Order Appointing Omni Agent
            Solutions as Claims and Noticing Agent, Nunc Pro Tunc to the Petition
            Date
  12        Debtors’ Motion for Entry of Interim and Final Orders (I) Approving the
            Debtors’ Proposed Adequate Assurance of Payment for Future Utility
            Services, (II) Prohibiting Utility Providers From Altering, Refusing, or
            Discontinuing Services, (III) Approving Procedures for Resolving
            Additional Adequate Assurance Requests, And (IV) Granting Related Relief
  13        Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
            Debtors to (A) Continue Using Existing Cash Management System,
            Including Existing Bank Accounts, (B) Honor Certain Prepetition
            Obligations Related Thereto, and (C) Maintain Existing Business Forms,
            (II) Waiving the Requirements of 11 U.S.C. § 345(b), and (III) Granting
            Related Relief
  14        Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
            Debtors To (A) Pay Prepetition Wages, Salaries, Employee Benefits, and
            Other Compensation and (B) Maintain Employee Benefits Programs and
            Pay Related Administrative Obligations, (II) Authorizing Applicable Banks

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                 and Other Financial Institutions to Honor and Process Related Checks and
                 Transfers, and (III) Granting Related Relief
         15      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                 Debtors to Pay Certain Prepetition Obligations Under Shared Services
                 Arrangements, (II) Authorizing Continued Performance of Obligations
                 Under Shared Services Arrangements, and (III) Granting Related Relief

               Copies of the First Day Pleadings and the Declaration of Brian Whittman in

Support of the Debtors’ Chapter 11 Petitions and First Day Pleadings [D.I. 16] (the “First Day

Declaration”) may be inspected in the offices of the Clerk of the Bankruptcy Court during

normal    business   hours   or   downloaded    from     the   Bankruptcy   Court’s   website    at

www.deb.uscourts.gov. Please note that prior registration with the PACER Service Center and

payment of a fee may be required to access such documents. Parties in interest may sign up for a

PACER account by visiting the PACER website at http://pacer.psc.uscourts.gov or by calling

(800) 676-6856. Additionally, copies of the First Day Pleadings, the First Day Declaration, and

all other papers filed in the Chapter 11 Cases are available free of charge from the website of the

Debtors’ proposed claims, notice and balloting agent, Omni Agent Solutions, at

www.officialbsaclaims.com or by calling US & Canada: 877-253-2815 and for Non-US: 503-

520-4488. All parties wishing to participate in the First Day Hearing telephonically must make

arrangements with CourtCall by telephone at (888) 882-6878 or on the internet at

www.courtcall.com.




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